Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 1 of 12 PageID #: 1493




                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 TEXARKANA DIVISION

     JUAN LOZADA-LEONI,                   §
                                          §
           Plaintiff,                     §
                                          §
     vs.                                  §
                                          §   Civil Action No. 5:19-cv-00011-RWS-CMC
     MONEYGRAM INTERNATIONAL,             §
     INC., and MONEYGRAM PAYMENT          §
     SYSTEMS, INC.,                       §
                                          §
           Defendants.                    §
                                          §

      PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT MONEYGRAM
              PAYMENT SYSTEMS, INC.’S MOTION TO DISMISS OR,
                    ALTERNATIVELY, TO TRANSFER VENUE


                                      Robert W. Weber, Local Counsel
                                      Texas State Bar No. 21044800
                                      E-mail: bweber@smithweber.com
                                      SMITH WEBER, L.L.P.
                                      5505 Plaza Drive
                                      Texarkana, Texas 75503
                                      Telephone: 903-223-5656
                                       Facsimile: 903-223-5652

                                      Steve Kardell
                                      Texas State Bar No. 11098400
                                      E-mail: skardell@kardelllawgroup.com
                                      KARDELL LAW GROUP
                                      4514 Cole Avenue, Suite 600
                                      Dallas, Texas 75205
                                      Telephone: (214) 616-4654
                                      Facsimile: (469) 729-9926
                                      ATTORNEYS FOR PLAINTIFF,
                                      JUAN LOZADA-LEONI
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 2 of 12 PageID #: 1494




                                                TABLE OF CONTENTS

   TABLE OF CONTENTS .............................................................................................................. i

   TABLE OF AUTHORITIES ....................................................................................................... ii

   INTRODUCTION......................................................................................................................... 1

   LEGAL ARGUMENT .................................................................................................................. 2

      I. Defendant’s Failure-to-Exhaust Argument Should Fail .......................................................... 2

         A. Defendant Neglects to Address Several Key Facts and, therefore, Should Be Deemed to

         Have Conceded Them ............................................................................................................. 2

         B. The Applicable Caselaw Supports Plaintiff’s Position .................................................... 2

         C. Even if the Court Considers Defendant’s Argument Plausible, Defendant Has Waited

         too Long to Make It ................................................................................................................. 4

      II. Defendant Has Failed to Meet its Burden to Show that Another Venue is “Clearly More

      Convenient”................................................................................................................................. 5

   CONCLUSION ............................................................................................................................. 8




                                                                          i
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 3 of 12 PageID #: 1495




                                            TABLE OF AUTHORITIES

   Cases

   Amazon.com v. Cendant Corp., 404 F.Supp.2d 1256 (WD Wash. 2005)....................................... 6

   Chew v. MoneyGram Int’l Inc., No. 1:18-cv-07537 (N.D.Ill. filed April 5, 2019) ........................ 7

   Gonzalez v. Colonial Bank, ARB No. 05-060, ALJ No. 2004-SOX-39 (ARB May 31, 2005)...... 5

   Gundle Lining Constr. Corp. V. Fireman’s Fund Ins., Co. 844 F.Supp. 1163 (S.D.Tex. 1994).... 6

   In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008) ................................................. 5

   Regents of Univ. of Cal. V. Eli Lilly and Co., 119 F.3d 1559 (Fed. Cir. 1997) .............................. 6

   Sosa v. Hiraoka, 920 F.2d 1452, 1459 (9th Cir. 1990) .................................................................... 3

   Walder v. Bio-Rad Labs, Inc., 141 F.Supp.3d 1005, 1020 (N.D.Cal. 2015) .................................. 3

   Wallace v. Tesoro Corp., 796 F.3d 468, 475 (5th Cir. 2010) ..................................................... 2, 3

   Statutes

   29 C.F.R. sec. 1980.103 .................................................................................................................. 7

   Fed.R.Civ.P. 72 ............................................................................................................................... 8

   Sarbanes-Oxley Act of 2002, 18 U.S.C. sec. 1514A ...................................................................... 6

   Online Articles

   MoneyGram Can’t Blame $125 Fine on Software: Investors, Law 360 ........................................ 7




                                                                          ii
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 4 of 12 PageID #: 1496




                            IN THE UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF TEXAS
                                     TEXARKANA DIVISION

      JUAN LOZADA-LEONI,                                §
                                                        §
               Plaintiff,                               §
                                                        §
      vs.                                               §
                                                        §   Civil Action No. 5:19-cv-00011-RWS-CMC
      MONEYGRAM INTERNATIONAL,                          §
      INC., and MONEYGRAM PAYMENT                       §
      SYSTEMS, INC.,                                    §
                                                        §
               Defendants.                              §
                                                        §

       PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT MONEYGRAM
               PAYMENT SYSTEMS, INC.’S MOTION TO DISMISS OR,
                     ALTERNATIVELY, TO TRANSFER VENUE

            Plaintiff Juan Lozada-Leoni (“Plaintiff”) hereby files his Sur-Reply to Defendant

   MoneyGram Payment Systems, Inc.’s (“MPSI’s” or “Defendant’s”) Motion to Dismiss or,

   Alternatively, to Transfer Venue.

                                           INTRODUCTION

            Defendant’s Reply Brief ignores significant facts, confuses applicable case law and rests

   its last-ditch argument on one document. It fails to meet its burdens to establish that Plaintiff did

   not exhaust his administrative remedies and that venue is clearly more convenient somewhere else.

   Therefore, both Defendant’s Motion to Dismiss on jurisdictional grounds and its Motion to

   Transfer Venue should be denied in their entirety.




   PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT                                            P a g e |1
   MPSI MOTION TO DISMISS OR, ALTERNATIVELY,
   TO TRANSFER VENUE
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 5 of 12 PageID #: 1497




                                              LEGAL ARGUMENT

   I. Defendant’s Failure-to-Exhaust Argument Should Fail

       A. Defendant Neglects to Address Several Key Facts and, therefore, Should Be Deemed
          to Have Conceded Them
           Defendant’s Reply Brief is notable for that which it does not say. Defendant has failed to

   even address these significant facts cited by Plaintiff in his Response Brief:

       •   MoneyGram International, Inc. (“MGI”) conducts its business through its wholly owned
           subsidiary, MPSI 1 and
       •   In both the 2012 Deferred Prosecution Agreement (“DPA”) and the 2018 Amended
           Deferred Prosecution Agreement (“Amended DPA”), MGI concedes that there is no
           distinction between parent and subsidiary for purposes of defining “employer.” 2
   Essentially, then, it stands as undisputed that MGI and MPSI are substantially identical parties.

       B. The Applicable Caselaw Supports Plaintiff’s Position
           As explained in Plaintiff’s Response Brief, there is no binding authority as to whether

   Plaintiff’s administrative complaint 3 put MPSI on notice of a potential action against it

   notwithstanding that it did not name MPSI as a party defendant. However, Plaintiff has cited

   several factually similar and well-reasoned decisions that support this proposition.

           Wallace v. Tesoro Corp., 796 F.3d 468, 475 (5th Cir. 2010), while distinguishable from

   the case at hand, actually supports Plaintiff’s position here. As discussed in his Reply Brief at p.

   16-17, the issue in Wallace did not involve notice to a defendant, but notice to OSHA, of the

   claims presented in the federal complaint. The defendant in Wallace argued that because certain

   claims had not been presented in the administrative complaint, those claims had not been

   exhausted. The court agreed. 796 F.3d at 476-77. Here, the retaliation and whistleblower


   1
     See Plaintiff’s Response in Opposition to MPSI’s Motion to Dismiss or, Alternatively, Transfer Venue (“Plaintiff’s
   Response Brief”) at 7.
   2
     Id. at 7-8, Exhibits C and D.
   3
     Plaintiff’s administrative complaint was filed with OSHA on September 28, 2017. It is hereafter referred to as the
   “DOL Complaint.” See Declaration of Steve Kardell Regarding the Filing of DOL Complaint, Exh. 1, para. 1.
   PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT                                                          P a g e |2
   MPSI MOTION TO DISMISS OR, ALTERNATIVELY,
   TO TRANSFER VENUE
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 6 of 12 PageID #: 1498




   claims alleged by Plaintiff in his federal court complaint are the same claims previously alleged

   in his DOL Complaint. Following the court’s reasoning in Wallace, Plaintiff has exhausted those

   claims.

             As for Walder v. Bio-Rad Labs, Inc., 141 F.Supp.3d 1005, 1020 (N.D.Cal. 2015), contrary

   to Defendant’s assertion, that decision does not support the conclusion that Plaintiff’s claims

   against MPSI are barred. In Walder, while the plaintiff did not name Bio-Rad's CEO in the

   administrative complaint, plaintiff referenced him in the body of the complaint. Here, based on

   Defendant’s concessions that MGI conducts its business through MPSI and that there is no

   distinction between the two in the DPA and Amended DPA, it can easily be said that Plaintiff

   referenced MPSI in its claims against MGI.

             The thrust of these decisions is that where a defendant not named in an administrative

   complaint can reasonably expect to be named in a subsequent lawsuit, it has received fair notice

   of the charges against it. See Wallace, 796 F.3d at 476-77; Wadler, 141 F.Supp.3d at 1020. There

   is no question, especially since pleadings in cases brought pursuant to the Sarbanes-Oxley Act of

   2002, 18 U.S.C. sec. 1514A (“SOX”), are to be liberally construed, Wadler, 141 F.Supp.3d at

   1020, see 29 C.F.R. sec. 1980.103, that MPSI received fair notice of the charges against it by virtue

   of the DOL Complaint. 4 Defendant’s formalistic approach is not supported by the applicable law

   and regulations. Accordingly, Plaintiff should be found to have exhausted his administrative

   remedies, and Defendant’s 12(b)(1) and 12(b)(6) motions should be denied.




   4
     Indeed, as the court in Sosa v. Hiraoka, 920 F.2d 1452, 1459 (9th Cir. 1990), observed in a similar Title VII case,
   “if the respondent named in the EEOC charge is a principal or agent of the unnamed party, or if they are
   ‘substantially identical parties,’ suit may proceed against the unnamed party....”

   PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT                                                              P a g e |3
   MPSI MOTION TO DISMISS OR, ALTERNATIVELY,
   TO TRANSFER VENUE
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 7 of 12 PageID #: 1499




          C. Even if the Court Considers Defendant’s Argument Plausible, Defendant Has Waited
             too Long to Make It
               Defendant mentions the DOL Complaint 11 times in its Reply Brief. The DOL Complaint,

   however, was complete and comprehensive, 5 except for naming MPSI as a Respondent.

   Defendant’s fixation on the DOL complaint at this late hour has all the indicia of an afterthought

   or last-ditch strategy.

               Defendant also relies on the new Declaration of Elizabeth Weathers-Nguyen dated April

   11, 2019. Ms. Weathers-Nguyen at all times herein has functioned as MGI’s in-house counsel with

   responsibility for handling this case. Her Declaration stresses the employment relationship

   between Plaintiff and MPSI; however, it omits crucial details of communications among Ms.

   Weathers-Nguyen, Chris Ponder (the director of MGI Human Resources), Plaintiff and Plaintiff’s

   counsel over a period of 3 months and 26 days prior to the filing of the DOL Complaint. 6 During

   these almost four months of communications, there was never any mention by Weathers-Nguyen

   of any deficiency in not naming MPSI in the DOL Complaint. 7

               Defendant failed to raise the MPSI deficiency issue at the time the DOL Complaint was

   filed after a total of almost 4 months of discussion with MGI in-house counsel. 8 Defendant then

   sat on this issue for almost an additional seven months, finally raising it for the first time in




   5
     See Kardell Decl., Exh. 1.
   6
     See Defendant’s Moving Brief, Exhibit 1. In addition to email and telephone communications from early June
   2017 until the filing of the DOL Complaint, Plaintiff’s counsel had a “voluntary disclosure” meeting on June 28,
   2017 with Ms. Weathers-Nguyen and Mr. Ponder, the Human Resources director involved in Plaintiff’s termination.
   7
     See Declaration of Steve Kardell Regarding Emails between Juan Manuel Gonzalez and Juan Lozada-Leoni
   Provided by Elizabeth Weathers-Nguyen on 6-2-2017, Exhibit 2 hereto (for example, all of the emails provided in
   the zip file that Plaintiff had taken with him identified his colleagues as MGI employees; not

   one email identified any MGI employee as an MPSI employee).
   8
       See id., Exh. 2.

   PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT                                                       P a g e |4
   MPSI MOTION TO DISMISS OR, ALTERNATIVELY,
   TO TRANSFER VENUE
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 8 of 12 PageID #: 1500




   April, 2018. 9 Neither MGI nor MPSI, however, filed a dispositive motion as to the issue until

   June 2019, after another 14 months had passed and, significantly, after the Court had allowed the

   filing of Plaintiff’s Second Amended Complaint, which cured any deficiency pertaining to the

   absence of MPSI as a named party. 10 This argument by Defendant is not only too late but also is

   made in the wrong procedural vehicle to contest the current status of both MGI and MPSI as co-

   defendants. 11

            Defendant’s “failure-to-exhaust,” “gamesmanship,” and “improper-conduct-before-the-

   ALJ" arguments are so frivolous, dilatory and lacking in legitimate support as to be sanctionable

   under Rule 11. See Joint Conference Report filed June 10, 2019.

   II. Defendant Has Failed to Meet its Burden to Show that Another Venue is “Clearly More
   Convenient”

            Defendant concedes that venue is proper in this District and it has failed to establish that

   another venue is “clearly more convenient” than Plaintiff’s choice of the Eastern District of Texas,

   Texarkana Division. Therefore, Plaintiff’s decision to litigate this action here should be respected.

   See In re Volkswagen of Am., Inc., 545 F.3d 304, 315 (5th Cir. 2008).




   9
     See id., Exh. 2.
   10
      See id., Exh. 2. It has long been recognized in SOX ALJ proceedings that the amendment of a complaint entirely
   cures these issues. In Gonzalez v. Colonial Bank, ARB No. 05-060, ALJ No. 2004-SOX-39 (ARB May 31, 2005),
   the ALJ's order allowed complainant to amend his complaint to add the publicly-held parent company as a
   Respondent, thus resolving an almost identical problem as the one herein, and also establishing that an ALJ may
   permit a complainant to amend a complaint when (1) the amendment is reasonably within the scope of the original
   complaint, (2) the amendment will facilitate a determination of a controversy on the merits of the complaint and (3)
   there is no prejudice to the public interest and the rights of the parties.
   11
      Defendant should have filed a motion for reconsideration of the Court’s Order granting Plaintiff leave to file his
   Second Amended Complaint. Fed.R.Civ.P. 72 (When a pretrial matter not dispositive of a party's claim or defense
   is referred to a magistrate judge to hear and decide, the magistrate judge must promptly conduct the required
   proceedings and, when appropriate, issue a written order stating the decision. A party may serve and file objections
   to the order within 14 days after being served with a copy. A party may not assign as error a defect in the order not
   timely objected to).

   PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT                                                             P a g e |5
   MPSI MOTION TO DISMISS OR, ALTERNATIVELY,
   TO TRANSFER VENUE
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 9 of 12 PageID #: 1501




            In an employment lawsuit, the typical sources of proof are evidence of a Plaintiff’s

   performance or termination. These are usually generated or maintained by the company’s Human

   Resource Department. Here it is uncontested that no such documentation exists, at least not in

   Dallas or Frisco.

            An email provided by Ms. Weathers-Nguyen to Mr. Kardell during their 3-month, 26-day

   pre-DOL Complaint discussions illustrates how all email communications between Plaintiff and

   his supervisor regarding Plaintiff’s performance (or any other topic, for that matter), either

   originated in Miami or from other locations. 12 Significantly, as far as venue facts are concerned,

   there is no contention that any documentation relating to Plaintiff’s performance or termination

   either originated or was maintained in Dallas or Frisco.

            Defendant concedes that Texarkana is “geographically closer” to some witnesses but

   argues that venue would still be more convenient elsewhere. However, to prevail on a motion to

   transfer venue, the moving party must show that the “balance of convenience and justice weighs

   heavily in favor of transfer.” Gundle Lining Constr. Corp. V. Fireman’s Fund Ins., Co. 844

   F.Supp. 1163 (S.D.Tex. 1994). 13

            The interests of justice here tip the scale in favor of venue in the Eastern District, Texarkana

   Division. First, MGI has conceded in its Reply Brief in Support of Its Motion to Dismiss or,

   Alternatively, to Transfer Venue (“MGI Reply Brief”) that judicial economy “favors this Court



   12
      See Declaration of Steve Kardell Regarding Venue Issue: Location and Origin of Juan Manuel Gonzalez Emails,
   Exhibit 3 hereto.
   13
      Judicial economy is not a concern to be taken lightly. For example, while not controlling, both the Federal Circuit
   and the 9th Circuit consider judicial economy to be the most important factor in a section 1404 analysis. See e.g.,
   Regents of Univ. of Cal. V. Eli Lilly and Co., 119 F.3d 1559 (Fed. Cir. 1997); Amazon.com v. Cendant Corp., 404
   F.Supp.2d 1256 (WD Wash. 2005).

   PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT                                                            P a g e |6
   MPSI MOTION TO DISMISS OR, ALTERNATIVELY,
   TO TRANSFER VENUE
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 10 of 12 PageID #: 1502




   retaining jurisdiction.” MGI Reply Brief at para. 17. Second, an apples-to-apples comparison

   clearly establishes that the median time to trial in the Northern District is longer than the median

   time in the Eastern District. See The U.S. District Courts National Judicial Caseload Profile,

   attached as Exhibit 4 hereto.

            In addition, as explained by Plaintiff in his Response Brief, the speed with which Plaintiff

   gets to trial is significant here. While Defendant dismisses this argument as disingenuous and

   unsupported, it is a fact that this case has morphed into a totally different case as a result of the

   Amended DPA and 2018 government sanctions. Plaintiff promptly moved to kick out 14 the case as

   a result of the new issues that were raised by the government sanctions, opening up entirely new

   areas of discovery (e.g., favored key customers, breakdown of interdiction system, etc).

            It is also a fact that MGI is faced with a class action related to the very issues that Plaintiff

   raises in his Second Amended Complaint. See Complaint, Chew v. MoneyGram Int’l Inc., No.

   1:18-cv-07537 (N.D.Ill. filed April 5, 2019), attached as Exhibit A to Plaintiff’s Response Brief.

   As recently stated in a filing of the Chew case: “A day after the $125 million deal was announced

   in November 2018, shares of MoneyGram fell $2.20, or more than 49%, according to the investors,

   who claim the company is liable for lying about its compliance.” See C. Bott, MoneyGram Can’t

   Blame $125 Fine on Software: Investors, Law 360 (July 1, 2019), attached as Exhibit 5 hereto.15

   Common sense compels the conclusion that, in order for Plaintiff to be able to recover on his

   claims, time is crucial. Because the Texarkana Division has the available resources to address

   Plaintiff’s claims most efficiently, the interests of justice require that venue remain here.


   14
      SOX’s ”Kickout Provision“ allows a claimant to withdraw an unresolved complaint from OSHA’s administrative
   process as a matter of right after 180 days. See 18 U.S.C. sec. 1514A. Plaintiff timely exercised his option pursuant
   to the Kickout Provision by filing his Complaint in federal court on January 23, 2019. See Defendant’s Moving
   Brief, Exh. 16.
   15
      https://www.law360.com/articles/1174783/moneygram-can-t-blame-125m-fine-on-software-investors?copied=1.
   PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT                                                            P a g e |7
   MPSI MOTION TO DISMISS OR, ALTERNATIVELY,
   TO TRANSFER VENUE
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 11 of 12 PageID #: 1503




                                           CONCLUSION

          For the foregoing reasons, Plaintiff respectfully urges the Court to deny Defendant MSPI’s

   Motions to Dismiss and to Transfer Venue in their entirety.

   Dated: July 10, 2019

                                                Respectfully submitted,

                                                By: /s/ Robert W. Weber
                                                Robert W. Weber, Local Counsel
                                                Texas State Bar No. 21044800
                                                E-mail: bweber@smithweber.com
                                                SMITH WEBER, L.L.P.
                                                5505 Plaza Drive
                                                Texarkana, Texas 75503
                                                Telephone: 903-223-5656
                                                 Facsimile: 903-223-5652

                                                /s/ Steve Kardell
                                                Steve Kardell
                                                Texas State Bar No. 11098400
                                                E-mail: skardell@kardelllawgroup.com
                                                KARDELL LAW GROUP
                                                4514 Cole Avenue, Suite 600
                                                Dallas, Texas 75205
                                                Telephone: (214) 616-4654
                                                Facsimile: (469) 729-9926
                                                ATTORNEYS FOR PLAINTIFF,
                                                JUAN LOZADA-LEONI




                                    CERTIFICATE OF SERVICE



   PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT                                         P a g e |8
   MPSI MOTION TO DISMISS OR, ALTERNATIVELY,
   TO TRANSFER VENUE
Case 4:20-cv-00068-RWS-CMC Document 40 Filed 07/10/19 Page 12 of 12 PageID #: 1504




          I hereby certify that the foregoing document has been served via email on

    Counsel for all Defendants: Gary Eisenstat, John Barcus and Darby Doan, on July

    10, 2019.

                                               /s/ Steve Kardell




   PLAINTIFF’S SUR-REPLY IN OPPOSITION TO DEFENDANT                                   P a g e |9
   MPSI MOTION TO DISMISS OR, ALTERNATIVELY,
   TO TRANSFER VENUE
